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                                 UNITED STATES DISTRICT COURT
7
                                EASTERN DISTRICT OF CALIFORNIA
8

9

10                                                      CASE NO.: 2:15-CR-00235-TLN
      UNITED STATES OF AMERICA,
11

12          PLAINTIFF                                   ORDER RELEASING PASSPORT TO
                                                        DEFENDANT
13

14     MARCELLE BANAGA
15

16                                                      JUDGE: HONORABLE
                                                               CAROLYN K. DELANEY
17                    DEFENDANT
18

19
            Upon review and consideration of Defendant’s Motion to Modify Conditions of Pretrial
20   Release [ECF No. 181], the Court GRANTS the motion, as stated on the record during the
21   hearing on September 20, 2016, and hereby orders the Clerk of the Court to release the
22   defendant’s passport [ECF Nos. 75] to the defendant, Marcelle Banaga, for purposes of his
23   approved international travel to Romania.

24

25          IT IS SO ORDERED.
26
     Dated: September 27, 2016                      _____________________________________
27                                                  CAROLYN K. DELANEY
                                                    UNITED STATES MAGISTRATE JUDGE
28
